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April 5, 2023


Honorable Denise Cote
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, New York 10007

                     Re:                  United States v. James Velissaris,
                                          22 Cr. 105 (DLC)

Dear Judge Cote:

       Per the Court’s Order dated March 30, 2023 [Dckt #102], the parties have discussed the
proposed conditions of Supervised Release.

        The defense objects to conditions 1, 4, and 5 on the grounds that, as currently worded, they
are overbroad in relation to the alleged conduct and would effectively preclude Mr. Velissaris from
engaging in meaningful employment sufficient to support himself and his family. See, e.g., United
States v. Jenkins, 854 F.3d 181, 194 (2d Cir. 2017) (vacating sentence and remanding for re-
sentencng where Court found the sentence, which included conditions of supervised release
containing “employment restrictions that, as a practical matter” would mean the defendant would
“never be employable.”); United States v. Doe, 79 F.3d 1309, 1319 (2d Cir. 1996) (“we carefully
scrutinize unusual and severe conditions, such as one requiring the defendant to give up a lawful
livelihood.”) (internal quotation marks and citation omitted).

       The proposed conditions set forth in paragraphs 1, 4, and 5 encompass conduct and
segments of the financial services industry that are wholly unrelated to the conduct underlying the
government’s allegations—namely, public companies, brokers, dealers, market makers,
underwriters, small business entrepreneurs, and non-financial and non-securities related
promotional activities. The defense has proposed edits to the conditions, and has attached a
redlined and clean version of its proposed changes hereto as Exhibit A.

      The government does not oppose the defendant’s requested modifications, however, the
government would add the following language to condition 4: “Mr. Velissaris is further prohibited
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in participating in the valuation of securities, other than valuations performed for his own or his
family’s accounts.” This language has been included in the proposed revised conditions.


                                             Respectfully submitted,

                                             /s/___________________________________
                                             Michelle N. Bradford (admitted pro hac vice)
                                             Michael A. Battle
                                             William R. Martin (admitted pro hac vice)
                                             David S. Slovick (Entry of Appearance forthcoming)
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